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1 of 1

LOE VY = LO EV Y . Elizabeth Mazur <elizabethm@loevy.com>

 

RE: Stepney

Susan Sullivan <ssullivan@smbtrials.com> Thu, Jan 22, 2009 at 12:21 PM
To: Elizabeth Mazur <ElizabethM@loevy.com>, Russell Ainsworth <russell@loevy.com>

Cc: Art Reliford <areliford@smbtrials.com>, Leslie Hardy <lhardy@smbtrials.com>, Mary Cameron
<mcameron@smbtrials.com>

 

Dear Liz and Russell,

| am still working on gathering the documents, but will have them to you today. The PTD records also
arrived and | have been working out deposition dates with the officers. The officers are also gathering their
personal cell phone records for the August 27, 2008 so that | can produce them to you as instructed by
Judge Zagel. | will hopefully be contacting you today with firm dates to produce them next week.

Please let me know if you have been able to confirm dates when Plaintiffs are available to be deposed. In
our conversation on Tuesday, | meant to confirm with you whether you will be producing Robert and Jeffty
Stepney for deposition, or any of the other witnesses disclosed by Plaintiffs. Please let me know at your
earliest convenience so that | can set firm deposition dates.

| have also requested several times that you respond to the request to dismiss Sergeant Gabriel Flores
from this matter with prejudice. He has answered written discovery and been deposed. Based upon the
evidence in this matter, | do not believe that Plaintiffs have any good faith basis to pursue any claim against
him. Please indicate, one way or another, if you will dismiss Sergeant Flores.

[Quoted text hidden]

none Original Message-----

From: Susan Sullivan

Sent: Friday, January 16, 2009 3:01 PM

To: ‘Elizabeth Mazur’; Russell Ainsworth

Cc: Art Reliford; Leslie Hardy; Mary Cameron
Subject: RE: Stepney

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EXHIBIT

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LOEVY =: LOEVY . Elizabeth Mazur <elizabethm@loevy.com>

 

RE: Stepney

Elizabeth Mazur <ElizabethM@loevy.com> Thu, Jan 22, 2009 at 12:30 PM
To: Susan Sullivan <ssullivan@smbtrials.com>, Russell Ainsworth <russell@loevy.com>

Ce: Art Reliford <areliford@smbtrials.com>, Leslie Hardy <lhardy@smbtrials.com>, Mary Cameron
<mcameron@smbtrials.com>

 

Hi Susan,

| will be working with the Stepneys to coordinate depositions. | will get dates and find out about Robert and
Jefty and let you know as soon as possible. | believe you might have mentioned it on the phone, but can
you remind me whether there are certain Plaintinffs you want to depose first? Also, should we schedule
just one per day, or more than one?

Thanks,
Liz
~---- Original Message -----
From: Susan Sullivan
To: ‘Elizabeth Mazur' ; ‘Russell Ainsworth’
Cc: Art Reliford ; Leslie Hardy : Mary Cameron
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1 of 1

Case: 1:07-cv-

LOEVY.. LOEVY . Elizabeth Mazur <elizabethm@loevy.com>

 

RE: Stepney

 

Elizabeth Mazur <ElizabethM@loevy.com> Mon, Jan 26, 2009 at 11:31 AM
To: Susan Sullivan <ssullivan@smbtrials.com>, Russell Ainsworth <russell@loevy.com>

Cc: Art Reliford <areliford@smbirials.com>, Leslie Hardy <lhardy@smbtrials.com>, Mary Cameron
<mcameron@smbtrials.com>, Susan Sullivan <ssullivan@smbtrials.com>

Hi Susan,

Thank you for the documents. Sorry if no one got back to you about Sunday, but we will keep an eye out
for the CRs.

As for Defendants’ discovery, we should have Plaintiffs' responses to written discovery to you by 1/30.
Regarding the depositions, we can do Cynthia on 2/10, 2/11, or 2/12, and Dorian on 2/13 or 2/20. Tristan
can be available any day during the week of 2/16. One we have these three set, I'll get dates for the
remaining Plaintiffs. We should be able to produce Jefty, Robert, and the other witnesses in our Rule 26(a)

disclosure (with the exception of Brittany Jones, who we understand has moved to California) without the
necessity of a subpoena.

Thanks,
Liz

none Original Message -----

From: Susan Sullivan

To: ‘Elizabeth Mazur' ; 'Russell Ainsworth’

Ce: Art Reliford ; Leslie Hardy ; Mary Cameron ; Susan Sullivan
Sent: Friday, January 23, 2009 3:59 PM

Subject: RE: Stepney

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2/3/2011 10:27 AM
